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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                               CASE NO. 14-23436-CIV-COOKE


  ROSALEE WILLIAMS, as “Presumptive”
  Personal Representative of the Estate
  Timmie Williams on behalf of the Estate of
  Timmie Williams, Rosalee Williams, surviving
  Parent of Timmie Williams and George
  Williams-Hankins, brother of Timmie Williams,
                Plaintiff,
  v.
  MIAMI-DADE COUNTY,
  a political subdivision and Florida
  Division of Financial Services, and
  JORDAN FRIED, individually,
              Defendants.
  _________________________________________/

   MIAMI-DADE COUNTY’S ANSWER, DEFENSES, AND AFFIRMATIVE DEFENSES

         Defendant Miami-Dade County hereby files its Answer, Defenses, and Affirmative

  Defenses to Plaintiff’s First Amended Complaint (“FAC”) and asserts the following defenses:

         1.     Defendant denies Paragraph 1.

         2.     Defendant denies Paragraph 2.

         3.     Defendant admits Paragraph 3.

         4.     Defendant denies Paragraph 4.

         5.     As to Paragraph 5 of the FAC, Defendant denies that Rosalee Williams is the

  Personal Representative of the Estate of Timmie Williams. Defendant is without knowledge as to

  whether Rosalee Williams will soon be appointed Personal Representative of the Estate of

  Timmie Williams and thereby denies the same.
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         6.      Defendant is without knowledge as to Paragraph 6 of the FAC and thereby denies

  the same.

         7.      Defendant admits Paragraph 7.

         8.      As to Paragraph 8 of the FAC, Defendant denies that service has been perfected

  under Florida Statute 768.28. Defendant is without knowledge as to why the Florida Division of

  Financial Services is being listed as a party.

         9.      Defendant admits Paragraph 9.

         10.     Defendant is without knowledge as to Paragraph 10 of the FAC and thereby

  denies the same.

         11.     Defendant is without knowledge as to Paragraph 11 of the FAC and thereby

  denies the same.

         12.     Defendant is without knowledge as to Paragraph 12 of the FAC and thereby

  denies the same.

         13.     Defendant admits Paragraph 13.

         14.     Defendant admits Paragraph 14.

         15.     Defendant is without knowledge as to Paragraph 15 of the FAC and thereby

  denies the same.

         16.     Defendant is without knowledge as to Paragraph 16 of the FAC and thereby

  denies the same.

         17.     Defendant denies Paragraph 17.

         18.     Defendant denies Paragraph 18.

         19.     Defendant denies Paragraph 19.

         20.     Defendant denies Paragraph 20.



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         21.    Defendant is without knowledge as to Paragraph 21 of the FAC and thereby

  denies the same.

         22.    Defendant is without knowledge as to Paragraph 22 of the FAC and thereby

  denies the same.

                                             COUNT I

         23.    Defendant realleges all of its responses to Paragraphs 1-22.

         24.    As to Paragraph 24 of the FAC, Defendant admits that on or about July 15, 2012

  Jordan Fried was acting in the course and scope of his duties as a police officer employed by the

  Miami-Dade County Police Department. Defendant denies the remaining allegations in

  Paragraph 24 of the FAC.

         25.    Defendant denies Paragraph 25.

         26.    Defendant denies Paragraph 26.

         27.    Defendant admits Paragraph 27.

         28.    Defendant denies Paragraph 28.

                                            COUNT II

         29.    Defendant realleges al ofl its responses to Paragraphs 1-22.

         30.    As to Paragraph 30 of the FAC, Defendant admits that on or about July 15, 2012

  Jordan Fried was acting in the course and scope of his duties as a police officer employed by the

  Miami-Dade County Police Department. Defendant denies the remaining allegations in

  Paragraph 24 of the FAC.

         31.    Defendant denies Paragraph 31.

         32.    Defendant denies Paragraph 32.




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         33.     Defendant is without knowledge as to Paragraph 33 of the FAC and thereby

  denies the same.

         34.     Defendant is without knowledge as to Paragraph 34 of the FAC and thereby

  denies the same.

         35.     Defendant denies Paragraph 35.

         36.     Defendant admits Paragraph 36.

         37.     Defendant denies Paragraph 37.

         38.     Defendant denies Paragraph 38.

                                              COUNT III

         This count is directed at another defendant, not Miami-Dade County.1 Accordingly, no

  response to the allegations in Count III is required.

                          DEFENSES AND AFFIRMATIVE DEFENSES

         1.      Plaintiff’s damages, if any, were the result, either in whole or in part, of the

  negligence or wrongdoing of Timmie Williams (“Williams”). Therefore, Plaintiff’s claims are

  barred or reducible to the full extent thereof.

         2.      Plaintiff’s damages, if any, are barred or reducible in each instance that Plaintiff

  failed to mitigate damages.

         3.      The FAC fails to state a claim upon which relief can be granted under Rules

  12(b)(6) and 12(c) of the Federal Rules of Civil Procedure.

         4.      To the extent that Williams suffered any injuries as a result of facts alleged in the

  FAC, Defendant is not the proximate cause of those injuries.




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    The undersigned has spoken with counsel for the Plaintiff who stipulated that Count III is
  intended to be brought against Defendant Jordan Fried only.
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         5.      Defendant owed no duty to Williams, and therefore Plaintiff cannot plead a

  cognizable claim for negligence against it.

         6.      Plaintiff’s claim is barred by sovereign immunity and the discretionary function

  doctrine. Defendant Jordan Fried’s (“Fried”) decisions with regard to the incident are ones for

  which he is entitled to exercise discretion.

         7.      Plaintiff’s damages, if any, were the result, either in whole or in part, of the acts

  of third parties at the scene over whom Defendant had no control.

         8.      Plaintiff’s damages, if any, are barred or reducible in each instance that Plaintiff

  failed to mitigate damages.

         9.      Defendant is entitled to an apportionment of damages pursuant to Florida Statues

  Section 768.81 to account for the negligent acts committed by Williams and others.

         10.     Fried did not violate any of Williams’ constitutional rights.

         11.     Fried is entitled to qualified immunity for the force used against Williams. Fried

  acted in an objectively reasonable manner in using force against Williams, who was non-

  compliant with Defendant’s instructions and threatened others with a weapon of deadly force.

         12.     Fried is entitled to qualified immunity because he never violated any clearly

  established rights belonging to Williams.

         13.     Fried is immune from liability and from being named as a defendant in this action

  pursuant to Florida Statutes Section 768.28(9)(a) because he did not act in bad faith or with

  malicious purpose or in a manner exhibiting wanton and willful disregard of human rights,

  safety, or property, towards Williams.

         14.     Plaintiff’s lawsuit is barred because Fried acted reasonably in using deadly force

  against Williams.



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            15.   Plaintiff’s claim is barred to the extent that Plaintiff is suing for any alleged force

  Fried used in defense of himself and/or others. Fried was justified in using force against

  Williams because Williams posed an immediate threat of deadly harm to them, and the

  surrounding bystanders.

            16.   Fried was justified in any use of force as to Williams.

            17.   Fried was reasonable in any use of force as to Williams.

            18.   Any alleged use of force was authorized by Florida law, including but not limited

  to sections 776.05, 776.012, 776.032, and 776.085 of the Florida Statutes, and Defendant could

  reasonably rely on such statutory authority. Williams was brandishing a knife and threatening a

  third person.

            19.   Defendant is immune from suit because Fried’s use of force was justified pursuant

  to Florida Statutes Section 776.032. Williams was brandishing a knife and threatening a third

  person.

            20.   Defendant is entitled to recover its attorney’s fees incurred in the defense of this

  action because Fried’s use of force was justified and he is immune from suit pursuant to Florida

  Statutes Section 776.032.

            21.   Defendant is entitled to a setoff for all insurance or other proceeds received by

  Plaintiff for any alleged injuries or alleged damages, as well as for the costs incurred by the

  Defendant in this federal proceeding.

            22.   Rosalee Williams and George Williams-Hankins are not proper parties as they are

  not personal representatives of the estate of Timmie Williams.

            23.   Defendant would show that the sole legal cause of the incident sued upon was the

  carelessness, inadvertence and negligence of Williams and that he knowingly, willfully, and



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  voluntarily assumed the risk of the happening of the incident and, therefore, the Plaintiff is not

  entitled to recover from Defendant as alleged.

          24.    Plaintiff’s injuries and/or damages, if any, are the result of an act of a known or

  unknown third party whose actions were not under the dominion or control of Defendant and any

  recovery therefrom should be barred to the full extent thereof.

          25.    Defendant alleges the injuries claimed by Williams, were caused by the

  negligence of Williams and/or the negligence of a third party and were not solely caused by the

  negligence, if any, of Defendant Miami-Dade County, thereby bringing this cause within the

  Doctrine of Comparative Negligence, thereby reducing and/or barring claim for the Plaintiffs.

          26.    The action or portions of it are barred by the Doctrine of Sovereign Immunity,

  and the FAC fails to state a cause of action because the acts and/or omissions complained of are

  governmental planning level policy decisions which may not form the basis of traditional tort

  liability.

          27.    Defendant denies that the Plaintiff, Rosalee Williams, as Presumptive Personal

  Representative of the Estate of Timmie Williams, and/or George Williams-Hankins has complied

  with all notice requirements and conditions precedent to bringing this action in that under the

  provision of Fla. Stat. § 768.28(6), the Plaintiffs’ claim must be presented in writing to the

  Department of Financial Services and Miami-Dade County before any such action can be

  instituted, and said notice must be made six (6) months prior to the filing of suit.

          28.    Defendant Miami-Dade County denies that Plaintiff, Rosalee Williams, as

  Presumptive Personal Representative of the Estate of Timmie Williams, has complied with all

  notice requirements and conditions precedent to bringing this action under Section 2-2 of the

  Miami-Dade County Code.



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         29.     The alleged negligence complained of was not the legal cause of the accident as

  alleged in the FAC; therefore, the FAC fails to state a cause of action.

         30.     Defendant is entitled to a set-off from any recovery against it to the extent that the

  value of all benefits received by or paid on behalf of the Plaintiff from any collateral source.

         31.     Service of process is improper.

         32.     Plaintiff has failed to show or comply with Florida Statute 768.28(7) requiring

  service of process upon the Department of Financial Services.

         33.     Williams knew of the existence of the danger complained of in the FAC, realized

  and appreciated the possibility of injury as a result of the danger and, having a reasonable

  opportunity to avoid it, voluntarily exposed himself to the danger.

         34.     Plaintiff fails to allege compliance with Fla. Stat. § 768.28(6). Further, naming

  the “Division” of Financial Services is purposeless and improper.

         35.     Willaims’ actions were superceding, intervening causes of the death and such

  causes exculpate Defendant.

         36.     Plaintiff cannot sue Defendant for reckless actions or intentional infliction of

  emotional distress. Such claims are barred by Fla. Stat. § 768.28(9).

         37.     George Williams-Hankins is an improper Plaintiff. He may not sue individually

  under the Wrongful Death Act.

         38.     Count I of the FAC is improperly pled. There is no cause of action alleged.

  Statements, such as Paragraph 25, that the shooting is “without legal justification” do not create a

  cause of action. There are no elements alleged in Count I of any tort.

         39.     The FAC, if true, bars any action against Defendant. Fla.Stat. Section 798.28(9)

  bars an action against the County for malicious, wanton and willful, reckless or bad faith acts or



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  any acts outside the scope of the officer’s employment. Thus, as pled, Defendant is immune or

  exempt from liability.

         40.     Defendant reserves the right to assert additional defenses as appropriate.

         WHEREFORE, Defendant Miami-Dade County respectfully requests that this Court

  dismiss the claim against it with prejudice and/or enter judgment in Defendant’s favor; that the

  Court award Defendant attorney’s fees, litigation expenses, and costs, in accordance with

  applicable federal and state law; and that the Court award Defendant such other relief as the

  Court deems proper, equitable, and just.

         Dated: September 24, 2014                     Respectfully submitted,

                                                       By:      s/ Erica Zaron
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                                                             County and Jordan Fried




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                                   CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing was served on September 24,

   2014 on all counsel or parties of record in the manner indicated on the Service List below.


                                                ____s/ Erica Zaron___________________
                                                Assistant County Attorney


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